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                      Exhibit 1




                      Exhibit 1
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                                             Schedule

Line 1   Claim No.                                    1

Line 2   Musical Composition       Giving Him Something He Can Feel a/k/a Something He Can Feel

Line 3   Writer(s)                 Curtis Mayfield

Line 4   Publisher Plaintiff(s)    Warner-Tamerlane Publishing Corp.

Line 5   Date(s) of Registration   6/30/75

Line 6   Registration No(s).       Eu 593804

Line 7   Date(s) of Infringement   1/28/25

Line 8   Place of Infringement     Mariposa Cocina & Cocktails




Line 1   Claim No.                                    2

Line 2   Musical Composition       Love Ballad

Line 3   Writer(s)                 Skip Scarborough

Line 4   Publisher Plaintiff(s)    Unichappell Music Inc.

Line 5   Date(s) of Registration   1/29/75   11/12/76

Line 6   Registration No(s).       Eu 551222 Ep 361091

Line 7   Date(s) of Infringement   1/28/25

Line 8   Place of Infringement     Mariposa Cocina & Cocktails
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Line 1   Claim No.                                   3

Line 2   Musical Composition       Me And Mrs. Jones

Line 3   Writer(s)                 Kenneth Gamble; Leon Huff; Cary Gilbert

Line 4   Publisher Plaintiff(s)    Warner-Tamerlane Publishing Corp.

Line 5   Date(s) of Registration   1/3/73

Line 6   Registration No(s).       Ep 306869

Line 7   Date(s) of Infringement   1/28/25

Line 8   Place of Infringement     Mariposa Cocina & Cocktails




Line 1   Claim No.                                   4

Line 2   Musical Composition       Walkin' After Midnight

Line 3   Writer(s)                 Don Hecht; Allen Block

Line 4   Publisher Plaintiff(s)    Sony/ATV Songs LLC d/b/a Sony/ATV Acuff Rose Music

Line 5   Date(s) of Registration   1/18/84

Line 6   Registration No(s).       RE 197-554

Line 7   Date(s) of Infringement   1/28/25

Line 8   Place of Infringement     Mariposa Cocina & Cocktails




Line 1   Claim No.                                   5

Line 2   Musical Composition       I'll Be Around

Line 3   Writer(s)                 Thomas Bell; Phil Hurtt

Line 4   Publisher Plaintiff(s)    Warner-Tamerlane Publishing Corp.

Line 5   Date(s) of Registration   3/26/73

Line 6   Registration No(s).       Ep 310074

Line 7   Date(s) of Infringement   1/28/25

Line 8   Place of Infringement     Mariposa Cocina & Cocktails
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Line 1   Claim No.                                      6

Line 2   Musical Composition       Poison

Line 3   Writer(s)                 Elliot T. Straite

Line 4   Publisher Plaintiff(s)    Hip City Music Inc.; Hiriam Hicks and Elliot Straite, a partnership d/b/a Hifrost Publishing

Line 5   Date(s) of Registration   8/14/89                   3/19/90           6/7/90

Line 6   Registration No(s).       PAu 1-264-846               PAu 1-410-225        PA 475-115

Line 7   Date(s) of Infringement   12/14/24                 1/28/25

Line 8   Place of Infringement     Mariposa Cocina & Cocktails
